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A 0 2458 (Rev 06105) Sheet 1 Judgment in a Crirmnal Case


                                UNITED STATES DISTRICT COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            TAMPA DIVISION



UNITED STATES OF AMERICA                                        SECOND AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                (For Offenses Committed On or After November 1. 1987)

                                                                CASE NUMBER: 8:03-cr-184-T-30EAJ
                                                                Defendant's USM No.: 41198018



SEAN BUTLER
                                                                 Defendant's Attorney: James T. Skuthan, pda.

THE DEFENDANT:

-
X pleaded guilty to count@.) One of the Superseding Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not gulty.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                    DATE OFFENSE                  COUNT
TITLE & SECTION                         NATURE OF OFFENSE                           CONCLUDED                     NUMBER61
21 U.S.C. 5846                          Conspiracy to Possess With the              May 6, 2003                   One
                                        Intent to Distribute 5
                                        Kilograms or More of Cocaine
                                        and 50 Grams or More of Cocaine
                                        Base

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984 and the Mandatory Victims Restitution Act of 1996.
                                                                                                                                          1
- The defendant has been found not guilty on count(s)
- Count@) is dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this districtwithiin 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall noti@ the court and United States Attorney of any material change in the defendant's
economic circumstances.
                                                                                                                                          1
                                                                                                                                          I
                                                                                    Date of Impositionof Ori@      Sentence: February 24, UM4




                                                                                    DATE: March      3,         UX)8
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment
Defendant:           SEAN BUTLER                                                                           Judgment - Page 2o f 6
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                                                             IMPRISONMENT

          The defendant's sentence has been reduced pursuant to Amendment 706 and 711 and U.S.S.G. 9 lB1.lO.

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of SEVENTY (70) MONTHS as to Count One of the Superseding Indictment.

        As stipulated to by the parties, the Court inlposes a ten-day delay for the Bureau of Prisons in the effective date
of any resentence that results in the defendant's immediate release.




 X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at Coleman
Correctional Institution, if possible. It is further recommended that the defendant participate in the 500 hour intensive drug
treatment program while incarcerated.


      The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.
          -at - a.m./p.m. on -.
          - as notified by the United States Marshal.
-The defendant shall surrender for service of sentence at h e institution designated by the Bureau of Prisons.
          -before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Oftice.



                                                                   RETURN

          I have executed this judgment as follows:




           Defendant delivered on                to                                                                  at
                                                                        , with a certified copy of this judgment.



                                                                        United States Marshal


                                                                        Deputy Marshal
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A 0 2458 (Rev. 06/05) Sheet 3 - Supervised Release

Defendant:            SEAN BUTLER                                                                       Judgment - Page 3 of 6
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                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Count One of the Superseding Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal. state, or local crime.
The defendant shall not illegally possess a controlled substance.

For offenses cumnit~ed011or nffer September 13, 1994:

        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter.

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant
           pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance
           with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

           The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
           shall also comply with the additional conditions on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation ofticer and shall submit a truthful and cot~ipletcwritten report within the first five days of each
           month:

           the defendant shall answer truthfully all inquiries by the probation officer and ti~llowthc instructions of the probation ofticer;

           the defendant shall support his or her dcpcndents and meet other family responsibililics;

           the defendant shall work regularly at a lawhl occupation, unless excused by the probation ofticer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or cmploynient;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation of'ficer;

           the defendant shall permit a probation ofticer to visit him or her at any time at hornc or elsewhurc and shall pennit confiscation of any
           contraband observed in plain view of the probation ofticer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or qucstionud by a law enforcement ofticer;

           the defendant shall not cntcr into any agreement to act as an informer or a special agent of a law enforccmcnt agency without the
           permission of the court;

           as directed by the probation ofticer, the dcfcndant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to makcsuch notitications and to confirm the defendant's compliance
           with such notification requirement.
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A 0 215B (Rev 06/05) Sheet 3a - Suprvised Release
-   -



Defendant:           SEAN BUTLER                                                             Judgment - Page 4 of 6
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                                                    SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised release:

X
-         The defendant shall participate, as directed by the Probation Officer, in a program (outpatient and/or inpatient) for
          treatment of narcotic addiction or drug or alcohol dependency. This program may include testin for the detection
                                                                                                           F
          of substance use or abuse. Further, the defendant shall be required to contribute to the costs o services for such
          treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for Substance
          Abuse Treatment Services.
X
-         The mandatory dru testing provisions shall apply pursuant to the Violent Crime Control Act. The defendant shall
                                   f
          refrain from any un awful use of a controlled substance. The defendant shall submit to one drug test within 15 days
          of placement on probation and at least two periodic drug tests thereafter as directed by the probation officer.
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A 0 245B (Rev 06/05) Sheet 5 , Part A - Criminal Monetary Penalties

Defendant:            SEAN BUTLER                                                                            Judgment - Page 5 of 6
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                                                  CRIMINAL MONETARY PENALTIES

         The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth on Sheet 5 , Part B.
                                Assessment                             -
                                                                       Fine                      Total Restitution

           Totals:              $100.00                                Waived


-          The determination of restitution is deferred until            .      An Amended Judgment irz a Criminal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant shall make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order of ercentage payment co!umn below. However. pursuant to 18 U .S.C. $
           3664(i), all nonfederal victims must be palfin full prior to the Uruted States receiving payment.
                                                                                                                   Priority Order or
                                                        Total                      Amount of                       Percentage of
Name of Pavee                                         Amount of Loss            Restitution Ordered                Payment




                                Totals:               L                         L

-          If applicable, restitution amount ordered pursuant to plea agreement $
-          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
           5, Part B may be subject to penalties for delinquency and default, pursuant to 18 U. S.C. 5 3612(g).
-          The court determined that the defendant does not have the ability to pay interest, and is ordered that;
           -          the interest requirement is waived for the - fine andlor           -    restitution.
           -          the interest requirement for the - fine andlor            - restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 10A, and 113A of Title 18, United States Code, for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 5 Part B - Criminal Monetary Penalties

Defendant:            SEAN BUTLER                                                          Judgment - Page 6of 6
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                                                          SCHEDULE OF PAYMENTS


Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties shall be due as
follows:

A.         -
           X          Lump sum payment of $ 100.00 is due immediately, balance due
                                 -not later than                    , or

                                 -in accordance with - C , - D, or - E below; or
                      Payment to begin immediately (may be combined with -C, -D. or -E below); or
                      Payment in                  (e.g ., equal, weekly, monthly, quarterly) installments of $            over a
                      period
                       - - . of. -       (e.g., months or years), to commence               days (e.g.. 30 or 60 days) after date
                      of this judgment: or
                      Payment in             (e.g., equal, weekly, monthly, quarterly) installments of $       over a
                      period o f . (e.g., months or years) to commence - after release from imprisonment to a term of
                      supervision: or
                      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the s ecial instruction above, if this judg~nentimposes a period of
                                                              B        R
imprisonment. payment of criminal monetary enalties s all be due during the period of imprisonment. All criminal
monetary penalties. except those pa ments ma e through the Federal Bureau of Prisons' Inmate Financial Responsibility
                                               X
Program. are made to the clerk of e court. unless otherwise directed by the court, the probation officer, or the United
States Attorney.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
           Defendant Name, Case Number, and Joint and Several Amount:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
X
-          The defendant shall forfeit the defendant's interest in the following property to the United States:
           The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
           property, or portions thereof, subject to forfeiture. which are in the possession or control of the defendant or the
           defendant's nominees.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
